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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Judge William J. Martínez

   Civil Action No. 16-cv-2304-WJM-GPG

   MEGAN MCFADDEN,
   LONNIE WHITE, and
   ANTONIO “A.J.” WHITE,

          Plaintiffs,

   v.

   MEEKER HOUSING AUTHORITY, a Property Management Company,
   MELINDA PARKER,
   MICHELLE BUCKLER,
   EDY GEORGE, and,
   STACIE KINCHER,

          Defendants.


                  ORDER GRANTING IN PART AND DENYING IN PART
               PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT


          Plaintiff Megan McFadden (“McFadden”) previously resided in the federally

   subsidized Karen Court apartment complex in Meeker, Colorado. Plaintiffs Lonnie and

   A.J. White (“the Whites”) also previously resided in Karen Court. All Plaintiffs claim that

   Defendants discriminated against them in violation of § 504 the Rehabilitation Act of

   1973 (“Rehabilitation Act” or “§ 504”), 29 U.S.C. § 794, and the Fair Housing Act

   (“FHA”), 42 U.S.C. §§ 3601 et seq., based on Defendants’ policy concerning therapy

   pets. McFadden also brings a claim under Colorado state law for wrongful withholding

   of her security deposit.

          The Defendants are the Meeker Housing Authority (“MHA”), three members of

   MHA’s board of directors (Parker, Buckler, and George), and MHA’s executive
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   director/property manager (Kincher). The Court will refer all defendants collectively as

   “Defendants,” and to Parker, Buckler, George, and Kincher collectively as the “Individual

   Defendants.”

          Before the Court is Plaintiffs’ Motion for Partial Summary Judgment. (ECF

   No. 354.) For the reasons explained below, the Court grants summary judgment in

   Plaintiffs’ favor as to liability against MHA on Plaintiffs’ Claims 1 and 4. The Court

   otherwise denies summary judgment, and grants qualified immunity to the Individual

   Defendants.

          Also before the Court is Defendants’ Motion for Leave to Submit Surreply to

   Motion for Partial Summary Judgment. (ECF No. 382.) Nothing below turns on matters

   addressed by the proposed surreply, and so the motion is denied as moot.

                                     I. LEGAL STANDARD

          Summary judgment is warranted under Federal Rule of Civil Procedure 56 “if the

   movant shows that there is no genuine dispute as to any material fact and the movant is

   entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); see also Andersen v.

   Liberty Lobby, Inc., 477 U.S. 242, 248–50 (1986). A fact is “material” if, under the

   relevant substantive law, it is essential to proper disposition of the claim. Wright v.

   Abbott Labs., Inc., 259 F.3d 1226, 1231–32 (10th Cir. 2001). An issue is “genuine” if

   the evidence is such that it might lead a reasonable trier of fact to return a verdict for the

   nonmoving party. Allen v. Muskogee, 119 F.3d 837, 839 (10th Cir. 1997).

          In analyzing a motion for summary judgment, a court must view the evidence and

   all reasonable inferences therefrom in the light most favorable to the nonmoving party.

   Adler v. Wal-Mart Stores, Inc., 144 F.3d 664, 670 (10th Cir. 1998) (citing Matsushita



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   Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)). In addition, the

   Court must resolve factual ambiguities against the moving party, thus favoring the right

   to a trial. See Houston v. Nat’l Gen. Ins. Co., 817 F.2d 83, 85 (10th Cir. 1987).

                          II. THRESHOLD EVIDENTIARY RULINGS

   A.     Medical Records

          Plaintiffs’ Exhibit 7 (spanning ECF Nos. 354-7 to 354-20) comprises 222 pages of

   McFadden’s medical records. Plaintiffs’ Exhibit 13 (spanning ECF Nos. 354-26 to

   354-43) comprises 394 pages of A.J. White’s medical records. Sometimes Plaintiffs cite

   to specific pages within these exhibits, but on five occasions Plaintiffs cite to one or the

   other with a “see generally” signal. (ECF No. 354 at 3–4, 6, ¶¶ 11, 12, 25, 26, 28.)

   These “see generally” citations are in support of broad summary claims about

   McFadden’s or A.J. White’s medical diagnoses.

          Defendants respond that citing generally to exhibits that span hundreds of pages

   violates the undersigned’s Revised Practice Standard II.E.2, requiring “precise citations,

   including page number or paragraph number” when the cited document “is over one

   page in length.” Defendants therefore generally object that Plaintiffs have failed to carry

   their burden to support the factual assertions in question. (ECF No. 363 at 3.)

          Plaintiffs reply that “it is the volume and completeness of the document that

   supports Plaintiffs’ long-standing record of a disability.” (ECF No. 372 at 2.) Plaintiffs

   further note that they “highlighted every relevant section in the files, amounting to 352

   pages of highlighted records out of approximately 600 pages. Listing 352 separate

   page numbers would arguably not aid the Court or Defendants any more so than the

   highlights.” (Id.)

          Defendants are correct that Plaintiffs’ approach violates the undersigned’s

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   Revised Practice Standards—both II.E.2 and III.E.3. Moreover, Plaintiffs’ assertions do

   not appear to be of the kind that could not be supported by citations to particularly

   relevant pages, if only as “see, e.g.” citations. On the other hand, with insubstantial

   exceptions, Defendants do not dispute the facts for which these “see generally” records

   stand, but only their legal significance. (See ECF No. 363 at 4–5, ¶¶ 11, 12, 25, 26, 28.)

          The Court does not condone Plaintiffs’ approach of throwing the burden on

   Defendants and the Court to search for the highlighted material supporting Plaintiffs’

   claims. Under the circumstances, however, the Court finds that the prejudice to

   Plaintiffs in striking the offending allegations and thus resolving summary judgment on a

   fragmentary record outweighs the inconvenience Plaintiffs wrongly caused to

   Defendants and the Court. Accordingly, and soley in the interest of justice, the Court

   will overlook Plaintiffs’ violation of the undersigned’s Revised Practice Standards.

   B.     Findings by HUD and CHFA

          The events precipitating this lawsuit led to investigations by the U.S. Department

   of Housing and Urban Development (“HUD”) and the Colorado Housing and Finance

   Authority (“CHFA”). Plaintiffs use these entities’ investigatory findings and MHA’s

   subsequent remedial measures as evidence against Defendants. (See, e.g., ECF

   No. 354 at 12, ¶ 72; id. at 14, ¶ 82; id. at 15–16, ¶¶ 91–94; id. at 19–20, ¶¶ 112, 118,

   119, 121.)

          As to the investigatory findings, Defendants argue that they are hearsay, cannot

   be presented in an admissible form at trial, and are otherwise unduly prejudicial. (ECF

   No. 363 at 10, ¶ 72.) See also Fed. R. Civ. P. 56(c)(2) (“A party may object that the

   material cited to support or dispute a fact cannot be presented in a form that would be

   admissible in evidence.”). Plaintiffs’ reply brief ignores this objection, and the Court

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   otherwise finds it well-founded. Plaintiffs have not provided any basis for admitting the

   investigatory findings, and so the Court sustains Defendants’ objection and will not

   consider the investigatory findings as part of the summary judgment record.

         As to remedial measures, Defendants object under Federal Rule of Evidence

   407, which excludes evidence of subsequent remedial measures to prove “culpable

   conduct.” (ECF No. 363 at 13, ¶¶ 91–92.) Plaintiffs reply that subsequent remedial

   measures “can be introduced for other purposes, including impeachment.” (ECF

   No. 372 at 7, ¶ 92.) But Plaintiffs do not demonstrate any impeachment purpose

   relevant to summary judgment, and do not otherwise respond to the argument

   Defendants make here. Accordingly, the Court again sustains Defendants’ objection,

   and will not consider subsequent remedial measures as part of the summary judgment

   record.

                                          III. FACTS

   A.    Karen Court

         MHA is a housing authority organized under the Colorado Housing Authorities

   Law, Colo. Rev. Stat. § 29-4-201. (ECF No. 354 at 2, ¶ 2.) MHA operates an

   apartment complex commonly known as “Karen Court.” (Id. ¶ 1.) HUD financially

   subsidizes MHA. (Id. ¶ 3.) MHA offers Karen Court apartments to qualifying low-

   income persons at below market rent, and HUD pays MHA the difference between what

   the tenant pays and what the market commands. (Id. ¶ 4.)

         Kincher became MHA’s Executive Director in May 2016. (Id. ¶ 5.) As relevant to

   this lawsuit, the MHA board of directors comprised Parker, Buckler, and George. (Id.

   ¶ 6.) The board members are volunteers. (ECF No. 363 at 17, ¶ 1.)



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   B.     A.J. & Lonnie White

          A.J. White (“A.J.”) began receiving mental health treatment in 2006, at age 10,

   due to suicidal ideations. (ECF No. 354 at 6, ¶¶ 26–27.) Healthcare professionals have

   since diagnosed him with, among other things, cyclothymic disorder, dysthymic

   disorder, major depressive disorder, anxiety, and ADHD. (Id. ¶ 25.) He has been

   prescribed many medications to manage these conditions. (Id. ¶ 28.)

          A.J. moved to Meeker “in or around early 2014.” (Id. at 8, ¶ 42.) He and his

   father, Lonnie White (“Lonnie”), moved into Karen Court in approximately February

   2014, and received an FHA housing subsidy. (Id. at 3, ¶¶ 9–10; ECF No. 355-3 at 1.) 1

   A.J. began attending high school in Meeker and had an individualized education plan

   (“IEP”) up through his graduation in June 2016. (ECF No. 354 at 8, ¶ 44.) The IEP

   diagnosed him with a “serious emotional disability.” (Id.) But he attended school

   regularly, was able to learn and concentrate, and maintained a 3.0 GPA through

   graduation. (ECF No. 363 at 19, ¶¶ 17–19.) He also worked part-time while in high

   school at a gas station and responsibly carried out his duties. (Id. at 19–20, ¶¶ 20–21.)

          Much of this lawsuit centers around A.J.’s cats and their effect on him. A.J. first

   got a cat in March 2014, the month after he moved into Karen Court. (ECF No. 354

   at 7, ¶ 34.) He got a second cat at some point not specified in the record. He claims

   that his cats help to manage his depression and anxiety by giving him purpose and

   otherwise making him feel happy. (Id. at 7–8, ¶¶ 34–40.) A.J. still continues to report

   depression and problems with concentration. (Id. at 8, ¶ 41.) But he has worked at the


          1
             Although this lawsuit focuses on disability discrimination, Lonnie does not claim any
   disability. Rather, he sues as a person associated with another who has a disability (A.J.), and
   who has been affected by the alleged disability discrimination. See 42 U.S.C. § 3604(f)(2).


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   gas station full time since graduating from high school, and has been a competent

   employee, earning at least two raises. (ECF No. 363 at 20, ¶ 22.) He regularly

   interacts with customers and other employees as part of his job. (Id. ¶ 23.) He has

   never missed work because of depression, anxiety, or ADHD. (Id. ¶ 24.) He has only

   missed work for a two-week Hyatt Hotel Denver internship in 2016, which he completed

   successfully despite being apart from his cats. (Id.) A.J. handles his own personal

   hygiene, laundry, grocery shopping, cooking, transportation, and finances. (Id. ¶ 25.)

   C.    McFadden

         McFadden moved into Karen Court in approximately December 2015 and also

   received an FHA housing subsidy. (Id. at 3, ¶ 9; ECF No. 363 at 17, ¶ 4.) Before and

   since moving into Karen Court, McFadden’s healthcare professionals diagnosed her

   with, among other things, chronic dysthymic disorder, major depressive disorder, post-

   traumatic stress disorder, and anxiety. (ECF No. 354 at 3, ¶ 11.) She suffers four to

   five panic attacks per month. (Id. at 5, ¶ 21.) She has been prescribed various anti-

   depressant and anti-anxiety drugs. (Id. at 4, ¶ 12.)

         McFadden has a dog, Chewy, who can sense her anxiety and will then actively

   distract her. (Id. at 5, ¶ 22.) Chewy also provides McFadden something external to

   focus on when mired in negative thoughts and emotions. (Id. ¶ 24.)

         McFadden attributes her stress and depression to familial and financial problems.

   (ECF No. 363 at 18, ¶¶ 11–12.) Her depression only “occasionally” affects her such

   that she does not attend to personal hygiene. (Id. ¶ 9.) She usually takes care of her

   own personal hygiene, laundry, and cooking. (Id. ¶ 7.) She cares for her children and

   babysits others’ children. (Id. ¶¶ 7–8.) She sometimes has trouble falling asleep, but

   then sleeps soundly 6–8 hours per night and uses no medication to assist her sleep.

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   (Id. ¶ 10.)

   D.      Disputes Over MHA’s Pet Policies

           1.        Changes to the Pet Policy

           Before June 15, 2016, Karen Court permitted tenants to keep therapy animals.

   (ECF No. 354 at 9, ¶ 48.) On June 15, however, the MHA board discussed whether to

   change the policy. (ECF No. 354-51 at 2.) 2 The board was motivated, at least in part,

   by observations from the previous month of a dog chained behind one of the apartment

   buildings, and of tenants failing to clean up animal excrement on the complex grounds.

   (ECF No. 363 at 20–21, ¶¶ 26–31.) Defendants also claim that the board was

   motivated by an incident in which one of McFadden’s daughters was bitten by another

   tenant’s therapy dog. (Id. ¶¶ 27, 31.) But Defendants represent that the dog bite

   occurred “about June 16” (id. ¶ 27) and Plaintiffs claim that it happened on June 16

   (ECF No. 372 at 4, ¶ 49)—a day after the board meeting. Regardless, the board voted

   at the June 15 meeting to tighten the therapeutic animal policy, including a requirement

   that the animal “be documented by a MD - MHA will not accept letters from

   psychologists, psychotherapists, or therapist[s], etcetera[.]” (ECF No. 354-51 at 2

   (underscoring in original).)

           Defendants claim that the board drafted several pet policies for review by an

   outside attorney, and generally relied on advice of counsel in this endeavor, including

   advice that MHA could charge a pet deposit. (ECF No. 363 at 21, ¶¶ 32–34.) Plaintiffs

   generally dispute this, claiming that discovery in this lawsuit yielded no documents

   showing that the board’s counsel received any draft pet policies or provided any advice.

           2
               Unless otherwise specified, all dates in the remainder of this Part III.D refer to the year
   2016.


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   (ECF No. 372 at 9, ¶ 32; id. at 25.)

          It is undisputed, however, that Kincher drafted a new pet policy on June 16 to

   reflect the board-approved change. (ECF No. 354 at 9, ¶ 50.) The policy required all

   animals to be “registered” with MHA, and also required a deposit. (Id.) Plaintiffs assert

   that, before drafting this policy, Kincher reviewed online sources and talked to other

   housing authorities in Colorado, all of which informed her that a pet deposit was

   impermissible for assistance animals. (ECF No. 372 at 10, ¶ 33.) Plaintiffs further

   assert that, around the same time, someone from MHA called a local medical center

   and asked doctors to be cautious in writing companion animal recommendation letters.

   (ECF No. 354 at 9, ¶ 51.) Defendants counter that the available evidence shows, at

   most, that someone from a different MHA-managed apartment complex called a

   particular doctor in the summer of 2015, not 2016. (ECF No. 363 at 7, ¶ 51.)

          2.     First Violation Notices

          On July 11, Kincher distributed the new pet policy to all tenants. (ECF No. 354

   at 9, ¶ 52.) The next day, she posted violation notices on McFadden’s and the Whites’

   doors. (Id. ¶ 53.) In McFadden’s case, Kincher deemed her in violation not only for

   Chewy, but also for a pet ferret. (ECF No. 372 at 10, ¶ 36.)

          The MHA board held a monthly meeting on July 20, which Lonnie White

   attended. (ECF No. 354 at 12, ¶ 73.) He expressed “concern” about the new pet policy

   and the $300 nonrefundable deposit. (ECF No. 354-51 at 3.) The board “listened to his

   concern and said they would discuss and make [a] decision.” (Id.) They then moved on

   to other business items, but “[d]iscussion moved back to the pet policy” towards the end

   of the meeting, apparently after Lonnie White had left. (Id. at 4.) A motion carried to

   formally approve the $300 nonrefundable deposit for therapeutic pets. (Id.) The next

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    day, Kincher informed the Whites of the board’s decision. (ECF No. 354 at 13, ¶ 74.)

           3.     Additional Violation Notices

           On July 22, Kincher again posted violation notices on McFadden’s and the

    Whites’ doors. (ECF No. 354 at 10, ¶ 55; id. at 13, ¶ 75.) The next day, McFadden

    e-mailed Kincher what appears to be a scanned image of a filled-out form letter

    announcing that she has “a disability as defined by the fair housing laws” and that she

    uses her dog as “an emotional service animal to assist [her] with the functional

    limitations related to [her] disability,” and requesting “an accommodation for [her]

    disability,” namely, waiver of the no-pet policy and the deposit. (ECF No. 354-57 at 3.)

    The document also announces that “a [verifying] letter from [her] doctor or other medical

    professional” is attached (id.), although it is not clear if such a letter was actually

    attached.

           On July 25, McFadden secretly recorded a conversation between herself and

    Kincher. (See ECF No. 354-59 (transcript); ECF No. 363 at 7, ¶ 57.) In that

    conversation, McFadden announced that she was “officially submitting my request for a

    reasonable accommodation,” including a supporting letter from someone not identified

    in the transcript. (ECF No. 354-59 at 4.) Plaintiffs claim that the letter was from

    Catherine Eliasen, a licensed social worker. (ECF No. 354 at 10, ¶ 59.)

           On July 26, the MHA board held a special meeting “to discuss the reasonable

    accommodation request regarding Megan McFadden.” (ECF No. 354-51 at 5.) “It was

    decided to waive the no-pet policy for her companion animal,” assuming she could “[g]et

    a letter from a psychiatrist” and pay the $300 security deposit within thirty days. (Id.)

    Nothing in the record indicated whether anyone informed McFadden of the board’s

    decision.

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           4.     More Policy Changes and Further Notices

           On July 27, Kincher served McFadden with a 30-day notice to vacate. (ECF

    No. 354 at 11, ¶ 63.) Defendants claim this was prompted by pets McFadden kept

    other than Chewy, including the ferret. (ECF No. 363 at 9, ¶ 63.) Also on July 27, MHA

    issued a revised companion animal policy requiring “[a] letter from a licensed

    psychiatrist qualified to attest to the need for the companion animal,” and allowing only

    one therapy animal per authorized resident. (ECF No. 354-62 at 2.) Plaintiffs assert

    that the board was aware when it made this decision that A.J. claimed more than one

    therapy animal. (ECF No. 354 at 13, ¶ 76.) The next day, Kincher posted a third

    violation notice on the Whites’ door. (Id. ¶ 77.)

           On August 5, McFadden sent Kincher an e-mail asking that she rescind the

    notice to vacate and approve her accommodation request. (ECF No. 354-57 at 5.)

    That same day, Kincher posted a fourth violation notice on the Whites’ door. (ECF

    No. 354 at 13, ¶ 78.)

           On August 12, Kincher sent a letter stating that MHA was denying McFadden’s

    accommodation request because “Meeker Housing Authority never received any

    information regarding [Chewy’s status as] a companion animal until two [violation]

    notices were given. Regarding your third and final infraction, you were written up for a

    ferret that is clearly not in the lease agreement.” (Id. at 12, ¶ 67; ECF No. 354-57 at 6.)

           On August 16, Kincher served the Whites with a thirty-day notice to vacate.

    (ECF No. 354 at 13, ¶ 79.) The reasons given in that notice are: “Pet policy violation

    and you no longer qualify due to the age of your son and he has graduated school—

    [a]lso you have not reported your income to the Housing Authority.” (ECF No. 354-58

    at 6.) At her deposition in this case, Kincher testified that “the eviction process was for”

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    the “pet violation,” and not anything else at that time—specifically, not A.J.’s age. (ECF

    No. 354-2 at 24.)

           On August 17, the Whites provided MHA with “another letter from A.J. White’s

    therapist Catherine Eliasen,” i.e., the same therapist that was apparently working with

    McFadden. (ECF No. 354 at 14, ¶ 81.) The letter stated that A.J. “is dealing with a

    chronic mental illness” which creates “increased difficulty coping with stress, and

    calming himself when agitated.” (ECF No. 354-65 at 1.) “It is helpful when dealing with

    the symptoms,” the letter continued, “for him to have his cats in his home. The

    companionship and comfort that emotional support animals provide is soundly

    supported in research, and thus I am recommending that [he] continue to have his

    emotional support animals.” (Id.)

           On August 18, McFadden responded to Kincher’s August 12 letter about the

    ferret and Chewy, explaining that the ferret was temporary (and now gone, apparently)

    and that she needed Chewy, as documented by paperwork she had already submitted.

    (ECF No. 354-57 at 7.) On August 22, Kincher wrote to McFadden that the MHA board

    had reviewed her response but it “stands by [its] decision of eviction, and the violations

    still apply.” (Id. at 8.) On August 24 and 25, McFadden and Kincher exchanged e-mails

    about the date by which McFadden must vacate, and Kincher announced that the MHA

    board would permit her to stay until September 1, 2016 “if [she was] to find a new home

    for [her] dog in the process.” (Id. at 9.)

           On August 27, Lonnie sent Kincher an e-mail reattaching copies of A.J.’s medical

    provider statements in support of his disability, and asking for reconsideration of the

    eviction. (ECF No. 354 at 14, ¶ 82.) On August 29, Kincher wrote back, asserting that



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    “there is nothing in your file that stated that your son was disabled. You gave me a

    letter from your therapist but we would need a letter from a medical doctor to consider a

    diagnosis (per HUD).” (ECF No. 354-58 at 8.) Kincher also provided more explanation

    about one of the other asserted violations in the notice to vacate—income verification—

    and concluded, “your lack of information does not dismiss the eviction process. Please

    understand this has nothing to do with your pets.” (Id.) It is unclear whether Kincher’s

    last sentence meant to convey that the eviction had nothing to do with the pet violations,

    or only that failure to provide income verification was a basis for eviction independent of

    the pet violations. This is all the more confusing given her deposition testimony, noted

    above, that the only basis for the eviction was A.J.’s cats.

           On September 7, the Whites e-mailed MHA another accommodation request,

    concluding with “[w]e need our home and my son needs his animals!” (Id. at 9.)

    Kincher responded later that same day that MHA was simply enforcing “the rules that

    you signed when you moved into Karen Court. Please be moved out on or before the

    15th.” (Id.)

           5.      McFadden Moves Out

           The next day, September 8, McFadden moved out of Karen Court. (ECF No.

    354 at 12, ¶ 72.) MHA did not file eviction proceedings (ECF No. 372 at 11, ¶ 41), but it

    recorded the move-out on its paperwork as both a “tenant initiated” move and “an

    eviction for other than non-payment of rent” (ECF No. 355-6 (capitalization normalized)).

           Defendants say that, sometime before McFadden’s move-out, MHA “ultimately

    approved [her] request to keep her dog without paying a deposit.” (ECF No. 363 at 22,

    ¶ 37.) In support, they cite Kincher’s deposition in this case, where she states that an

    approval decision came sometime “after August 26.” (ECF No. 363-4 at 10.) But the

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    cited excerpts say nothing about waiving the deposit, and in fact the transcript continues

    with a discussion about the $300 deposit as if it was not waived:

                  Q.     When you granted the request for Ms. McFadden to
                  keep her companion animal, did you notify Ms. McFadden
                  that she would have to pay a $300 nonrefundable pet
                  deposit?

                  A.     There was [sic] some stipulations on that.

    (Id.) The word “stipulations” echoes the board meeting minutes from July 26, where the

    decision to grant McFadden’s accommodation request was made “[w]ith the stipulations

    of [McFadden] bringing in the correct paperwork [i.e., a letter from a psychiatrist].” (ECF

    No. 354-51 at 5.) This suggests that Kincher misremembered the MHA board’s July 26

    decision as something that happened on or after August 26.

           McFadden claims she is still owed a $50 deposit paid on move-in. The parties

    dispute whether she ever paid a move-in deposit. Plaintiffs point to McFadden’s Karen

    Court file, which contains a HUD form titled “Owner’s Certification of Compliance with

    HUD's Tenant Eligibility and Rent Procedures.” (ECF No. 354-74.) The document

    includes what appears to be disclosure of rent and other charges, and a “50” appears

    on the line for “Security Deposit.” (Id.) But the form contains no signatures, despite

    signature blocks for “Head of Household” and “Owner/Agent.” (Id.) The form also

    appears to be some sort of documentation for a transfer from one apartment to another

    in June 2016, well after McFadden moved into Karen Court. (Id.) Defendants, for their

    part, deny that McFadden paid any deposit, whether $50 or otherwise. (ECF No. 363

    at 14, ¶¶ 99–100.)

           6.     The Whites Obtain Preliminary Relief from this Court

           As for the Whites, they filed this lawsuit on September 13 (ECF No. 1) and


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    received from this Court a temporary restraining order against eviction on September 15

    (ECF No. 15). For reasons not relevant to recount here, the TRO was eventually

    converted into an All Writs Act injunction. (See ECF No. 57.)

    E.     The Whites’ Eventual Departure

           The Whites moved from Karen Court in October 2017 because they found an

    apartment with lower rent. (ECF No. 363 at 23, ¶ 47.) They claim they were forced to

    seek lower rent because MHA was making unsubstantiated income recertification

    demands and inflating the Whites’ rent based on supposed failures to meet those

    demands. (ECF No. 354 at 19–20, ¶¶ 115–20.)

                                            IV. ANALYSIS

    A.     Qualified Immunity

           Plaintiffs assert their FHA and § 504 claims against all Defendants, meaning they

    seek to hold the Individual Defendants (the MHA board members and Kincher)

    personally liable, not just MHA itself. 3 Plaintiffs also allege that the Individual

    Defendants are “‘persons’ under 42 U.S.C. § 1983 . . . acting under color of state law.”

    (ECF No. 237 ¶¶ 280, 282, 336, 338.) In other words, they allege that the Individual

    Defendants acted as government officials in depriving Plaintiffs of a right secured by the

    Constitution or a federal statute. See 42 U.S.C. § 1983.

           Defendants deny that they are government officials. (See ECF No. 253 ¶¶ 282,

    338.) But assuming they are government officials, they argue for qualified immunity

    (see ECF No. 363 at 35–38), which “shield[s] [them] from liability for civil damages


           3
            As to their § 504 claims, Plaintiffs do not move for summary judgment on the Individual
    Defendants’ liability (see ECF No. 354 at 1 n.1, 22 n.10), but neither do Plaintiffs abandon those
    claims as to the Individual Defendants.


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    insofar as their conduct d[id] not violate clearly established statutory or constitutional

    rights of which a reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S.

    800, 818 (1982).

           Plaintiffs respond that this argument contradicts the Individual Defendants’ denial

    throughout this lawsuit that they are government officials. (ECF No. 372 at 26.) But

    Plaintiffs have not abandoned or disavowed their explicit allegations that the Individual

    Defendants acted under color of state law when they took the actions at issue in this

    lawsuit. 4 The Individual Defendants are thus entitled to presume that Plaintiffs plan to

    go to trial with the intent on proving the government-official allegations. 5 And in that

    light, the Individual Defendants may properly argue for qualified immunity.

           “Qualified immunity shields federal and state officials from money damages

    unless a plaintiff pleads facts showing (1) that the official violated a statutory or

    constitutional right, and (2) that the right was clearly established at the time of the

    challenged conduct.” Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011) (internal quotation

    marks omitted). “The judges of the district courts . . . [may] exercise their sound

    discretion in deciding which of the two prongs of the qualified immunity analysis should

    be addressed first in light of the circumstances in the particular case at hand.” Pearson

    v. Callahan, 555 U.S. 223, 236 (2009). “A right is clearly established in this circuit when


           4
              Plaintiffs’ response to Defendants’ proposed surreply confirms that they are not
    abandoning their government-official allegations. (ECF No. 390 ¶ 3.) Plaintiffs further argue
    that “[a] party asserting that a fact is genuinely disputed must support the assertion with
    evidence, not allegations.” (Id.) But the only dispute in this context is whether the Individual
    Defendants are government officials. Defendants are not asking the Court to find that a dispute
    exists. Rather, they are presenting one of the most common forms of argument in the law:
    “Assuming the facts are as the other side represents, we still win because . . . .”
           5
           The Final Pretrial Order, developed and entered several months after the close of
    summary judgment briefing, continues to assert the relevant claims. (ECF No. 406 at 9, 10.)


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    a Supreme Court or Tenth Circuit decision is on point, or if the clearly established

    weight of authority from other courts shows that the right must be as the plaintiff

    maintains.” Thomas v. Kaven, 765 F.3d 1183, 1194 (10th Cir. 2014) (internal quotation

    marks omitted). The plaintiff bears the burden of demonstrating that the law was clearly

    established at the relevant time. Lybrook v. Members of Farmington Mun. Sch. Bd. of

    Educ., 232 F.3d 1334, 1337 (10th Cir. 2000).

           Plaintiffs argue that, assuming the Individual Defendants may raise qualified

    immunity, the statutory right in question was clearly established in 2016. (ECF No. 372

    at 26–30.) Plaintiffs concede that there is no on point Supreme Court or Tenth Circuit

    precedent, but argue based on what they believe to be a clearly established weight of

    authority from other courts that there is a “right to live with an assistance animal” as a

    disability accommodation. (Id. at 27.)

           The Court finds “assistance animal” is too broad. “The Supreme Court has

    cautioned [lower] courts not to define clearly established law at a high level of

    generality, but to focus on whether the violative nature of particular conduct is clearly

    established.” Perea v. Baca, 817 F.3d 1198, 1204 (10th Cir. 2016) (internal quotation

    marks and citations omitted). This “does not demand an absurd level of specificity,”

    Estate of Walter v. Corr. Healthcare Cos., Inc., 323 F. Supp. 3d 1199, 1213 (D. Colo.

    2018), but Plaintiffs’ “assistance animal” formulation is plainly engineered at allowing

    Plaintiffs to claim cases about hearing and seeing-eye dogs as part of the weight of

    relevant authority from other courts. The Court sees a meaningful distinction between

    service animals (dogs, usually, that perform tasks their owners cannot) and therapy

    pets, whose role is to provide the companionship that pets normally provide. Although



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    the Court need not rule as much in this context, the right to a service animal as a

    reasonable accommodation is likely clearly established. But the notion of a therapy pet

    as a reasonable accommodation is a more recent development. 6

           Plaintiffs cite only one circuit-level decision specifically confirming that a therapy

    pet may be a reasonable accommodation under the FHA. See Castillo Condo. Ass’n v.

    U.S. Dep’t of Hous. & Urban Dev., 821 F.3d 92, 98 (1st Cir. [May 2,] 2016) (“the

    Association’s refusal to allow Giménez to keep an emotional support dog in his

    condominium unit as a reasonable accommodation for his disability [anxiety and

    depression] was unlawful”). 7 Beyond that, Plaintiffs cite sub-regulatory HUD guidance

    from 2013 that specifies emotional support animals as something that may need to be

    reasonably accommodated under the FHA and § 504, despite recent amendments to

    ADA-implementing regulations that narrowed the definition of “service animal” to

    exclude emotional support animals. (ECF No. 354-85.) Plaintiffs also cite two HUD

           6
              Plaintiffs point to a HUD regulation promulgated in 2008 for the proposition that HUD at
    that time “explicitly determin[ed] that the FHA applies to support and therapy animals, not just
    service animals.” (ECF No. 372 at 29 n.9.) Plaintiffs exaggerate. First, the regulation was in
    the context of pet policies in housing projects specifically designed to serve “the elderly or
    persons with disabilities.” 24 C.F.R. § 5.300. As far as the record reveals, that does not
    encompass Karen Court, and Plaintiffs do not explain why a reasonable MHA board member
    would have reason to pay attention to such regulations. Second, the regulation itself says that
    general pet policies in housing projects for the elderly or disabled do not apply “against animals
    that are necessary as a reasonable accommodation to assist, support, or provide service to
    persons with disabilities.” Id. § 5.303(a). The scope of “assist, support, or provide service to” is
    ambiguous and it is only upon reading the Federal Register commentary that one learns that
    HUD had in mind, among other things, “providing emotional support to persons who have a
    disability related need for such support.” 73 Fed. Reg. 63834 (Oct. 27, 2008). Plaintiffs cite no
    authority that Federal Register commentary can clearly establish federal statutory rights.
           7
             Plaintiffs cite a number of extra-circuit district court cases in the same vein, but district
    court cases do not generate clearly established law. Woodward v. City of Worland, 977 F.2d
    1392, 1397 (10th Cir. 1992) (“a district court decision will not ordinarily clearly establish the law
    even of its own circuit” (citation and internal quotation marks omitted)). In any event, all of these
    cases are from 2011 or later, confirming the recent development of the notion of a therapy pet
    as a reasonable accommodation. (See ECF No. 372 at 27–28.)


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    administrative law judge decisions sustaining a charge of discrimination against housing

    providers that denied emotional support animals as a reasonable accommodation.

    Sec’y ex rel. Archibald v. Riverbay Corp., 2012 WL 1655364, at *1 (May 7, 2012); Sec’y

    ex rel. Evan v. Dutra, 1996 WL 657690, at *1 (Nov. 12, 1996). Assuming these

    authorities “count” in the clearly established law analysis, 8 they do not amount to a

    “weight of authority from other courts show[ing] that the right must be as the plaintiff

    maintains.” Thomas, 765 F.3d at 1194.

           The Court accordingly finds that Plaintiffs have failed to carry their burden to

    overcome Defendants’ assertion of qualified immunity. The Individual Defendants will

    be dismissed. 9

    B.     Discrimination: Failure to Reasonably Accommodate

           Plaintiffs move for summary judgment as to liability, leaving only a question of

    damages for trial, as to Claims 1 and 4 of their second amended complaint. Those

    claims are, respectively, discrimination under the FHA and discrimination under § 504.

           1.      Elements

           As to persons with a “handicap” (now more commonly known as a “disability”),

    the FHA makes it unlawful to “refus[e] to make reasonable accommodations in rules,

    policies, practices, or services, when such accommodations may be necessary to afford


           8
             Cf. Green v. Post, 574 F.3d 1294, 1310 n.10 (10th Cir. 2009) (“[i]n determining whether
    the law was clearly established,” courts in the Tenth Circuit “may not rely upon unpublished
    decisions”).
           9
              The Individual Defendants did not affirmatively move for summary judgment on
    qualified immunity, but instead raised it for the first time—in the entire litigation—in their
    response brief. But Plaintiffs took up the challenge without arguing waiver, and with no caveats
    about factual issues that might need a trial to resolve. In these unique circumstances, and
    considering that qualified immunity shifts the burden to Plaintiffs, the Court finds that dismissing
    the Individual Defendants is appropriate, despite the procedural posture.


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    such person equal opportunity to use and enjoy a dwelling.” 42 U.S.C. § 3604(f)(3)(B).

                   To state a claim of discrimination under the FHA for failure to
                   accommodate, a plaintiff must show: (1) that the plaintiff or
                   his associate is handicapped as defined by the FHA; (2) that
                   the defendant knew or reasonably should have known of the
                   claimed handicap; (3) that accommodation of the handicap
                   may be necessary to afford the handicapped person an
                   equal opportunity to use and enjoy the dwelling; (4) that the
                   accommodation is reasonable; and (5) that defendants
                   refused to make such accommodation.

    Arnal v. Aspen View Condo. Ass’n, Inc., 226 F. Supp. 3d 1177, 1183 (D. Colo. 2016).

           Under Rehabilitation Act § 504, “[n]o otherwise qualified individual with a

    disability in the United States . . . shall, solely by reason of her or his disability, be

    excluded from the participation in, be denied the benefits of, or be subjected to

    discrimination under any program or activity receiving Federal financial assistance.”

    29 U.S.C. § 794. “A prima facie case under § 504 consists of proof that (1) plaintiff is

    [disabled] under the Act; (2) he is ‘otherwise qualified’ to participate in the program;

    (3) the program receives federal financial assistance; and (4) the program discriminates

    against plaintiff.” Hollonbeck v. U.S. Olympic Comm., 513 F.3d 1191, 1194 (10th Cir.

    2008). 10

           The parties do not dispute that the middle two elements of the § 504 claim

    (“otherwise qualified” and federal financial assistance) are satisfied. In addition, MHA

    does not dispute Plaintiffs’ position that proof of the second through fifth elements of an

    FHA reasonable accommodation claim amounts to proof of the fourth element of a
           10
               If the plaintiff wishes to recover compensatory damages, he or she must additionally
    prove that the “discrimination was intentional.” Barber ex rel. Barber v. Colo. Dep’t of Revenue,
    562 F.3d 1222, 1228 (10th Cir. 2009). “Intentional discrimination does not require a showing of
    personal ill will or animosity toward the disabled person; rather, intentional discrimination can be
    inferred from a defendant’s deliberate indifference to the strong likelihood that pursuit of its
    questioned policies will likely result in a violation of federally protected rights.” Id. at 1228–29
    (internal quotation marks omitted).


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    § 504 claim. Accordingly, for present purposes, the Court will analyze only the

    elements of the FHA claim, except where noted.

           2.     Handicap/Disability

                  a.     FHA vs. § 504 Definitions

           Under the FHA, a “handicap” is “(1) a physical or mental impairment which

    substantially limits one or more of such person’s major life activities, (2) a record of

    having such an impairment, or (3) being regarded as having such an impairment.”

    42 U.S.C. § 3602(h).

                  As used in this definition:

                  (a) Physical or mental impairment includes:

                          (1) Any physiological disorder or condition, cosmetic
                  disfigurement, or anatomical loss affecting one or more of
                  the following body systems: Neurological; musculoskeletal;
                  special sense organs; respiratory, including speech organs;
                  cardiovascular; reproductive; digestive; genito-urinary; hemic
                  and lymphatic; skin; and endocrine; or

                        (2) Any mental or psychological disorder, such as
                  mental retardation, organic brain syndrome, emotional or
                  mental illness, and specific learning disabilities. The term
                  physical or mental impairment includes, but is not limited to,
                  such diseases and conditions as orthopedic, visual, speech
                  and hearing impairments, cerebral palsy, autism, epilepsy,
                  muscular dystrophy, multiple sclerosis, cancer, heart
                  disease, diabetes, Human Immunodeficiency Virus infection,
                  mental retardation, emotional illness, drug addiction (other
                  than addiction caused by current, illegal use of a controlled
                  substance) and alcoholism.

                  (b) Major life activities means functions such as caring for
                  one’s self, performing manual tasks, walking, seeing,
                  hearing, speaking, breathing, learning and working.

    24 C.F.R. § 100.201.

           Section 504 covers at least as much, but is potentially broader. Section 504



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    defines “individual with a disability” by cross-reference to the Americans with Disabilities

    Act (“ADA”). See 29 U.S.C. § 705(20)(B). Similar to the FHA, a “disability” under the

    ADA is “(A) a physical or mental impairment that substantially limits one or more major

    life activities of such individual; (B) a record of such an impairment; or (C) being

    regarded as having such an impairment.” 42 U.S.C. § 12102(1). Also similar to the

    FHA, “major life activities . . . include, but are not limited to, caring for oneself,

    performing manual tasks, seeing, hearing, eating, sleeping, walking, standing, lifting,

    bending, speaking, breathing, learning, reading, concentrating, thinking, communicating,

    and working.” Id. § 12102(2)(A). But, unlike the FHA, the ADA expands “major life

    activities” to include “the operation of a major bodily function, including but not limited to,

    functions of the immune system, normal cell growth, digestive, bowel, bladder,

    neurological, brain, respiratory, circulatory, endocrine, and reproductive functions.” Id.

    § 12102(2)(B).

           Moreover, the ADA says that “[t]he term ‘substantially limits’ shall be interpreted

    consistently with the findings and purposes of the ADA Amendments Act of 2008 [a.k.a.

    the ‘ADAAA’].” Id. § 12102(4)(B). The ADAAA includes the following among its findings

    and purposes:

                    [I]t is the intent of Congress that the primary object of
                    attention in cases brought under the ADA should be whether
                    entities covered under the ADA have complied with their
                    obligations[;] . . . the question of whether an individual’s
                    impairment is a disability under the ADA should not demand
                    extensive analysis.

    Pub. L. No. 110-325, § 2(b)(5). Regulations promulgated under the ADA emphasize

    this purpose:

                    An impairment is a disability . . . if it substantially limits the
                    ability of an individual to perform a major life activity as

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                  compared to most people in the general population. An
                  impairment need not prevent, or significantly or severely
                  restrict, the individual from performing a major life activity in
                  order to be considered substantially limiting.

    29 C.F.R. § 1630.2(j)(ii).

           Nominally, then, a § 504 “disability” (incorporating the ADA definitions) seems

    easier to prove than an FHA “handicap.” Congress specifically directed that the ADA

    definition of “disability” be broad, and that any questions on that account be easily

    resolved, so that the focus remains on whether the other party complied with legal

    requirements. The FHA does not contain similar language.

           Although the Court could find no case law explicitly addressing the subject, the

    Court is confident that Congress did not intend for the ADAAA to create two standards

    for disability (one for the ADA/§ 504, and another for the FHA). At a minimum, the

    ADAAA is strong evidence of Congress’s intent as to the meaning of disability

    protections generally. Accordingly, the Court finds that the meaning of “substantially

    limits” in the FHA should be interpreted congruent with the ADA/§ 504 definition of that

    term. This is all the more appropriate given the FHA’s broadly remedial purposes. See,

    e.g., Trafficante v. Metro. Life Ins. Co., 409 U.S. 205, 209 (1972) (“The language of the

    [FHA] is broad and inclusive.”); Tcherepnin v. Knight, 389 U.S. 332, 336 (1967) (“we are

    guided by the familiar canon of statutory construction that remedial legislation should be

    construed broadly to effectuate its purposes”).

                  b.     “Record of Disability”

           Plaintiffs argue that they have a “record of disability” as a matter of law, thus

    satisfying one of the three disjunctive prongs of the “disability” definition. (ECF No. 354

    at 24–28.) MHA’s primary counterargument is that Plaintiffs have not shown lack of a


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    genuine dispute over whether they have a record of disability, particularly, whether they

    have a record of a claimed impairment that “substantially limits” any major life activity.

    (ECF No. 363 at 23–29.) MHA emphasizes the many things Plaintiffs have

    accomplished and can do for themselves. (See Parts III.B & III.C, above.)

           The Tenth Circuit has stated that “whether the impairment substantially limits a

    major life activity is ordinarily a question of fact for the jury.” Carter v. Pathfinder Energy

    Servs., Inc., 662 F.3d 1134, 1142 (10th Cir. 2011). But this sentiment traces to pre-

    ADAAA cases, where the “substantially limits” test was stricter. See Doebele v.

    Sprint/United Mgmt. Co., 342 F.3d 1117, 1129 (10th Cir. 2003). The Court does not

    doubt that “substantially limits” is still a question of fact, but it is also one that, post-

    ADAAA, “should not demand extensive analysis.” Pub. L. No. 110-325, § 2(b)(5).

           Here, there is no question that McFadden and A.J. have both been repeatedly

    diagnosed with emotional disorders or mental illnesses that affect the major life activity

    of effective mental functioning. See 42 U.S.C. § 12102(2)(A)–(B) (ADA/§ 504); 24

    C.F.R. § 100.201 (FHA). 11 These disorders or illnesses “need not prevent, or

    significantly or severely restrict, the individual from performing a major life activity in

    order to be considered substantially limiting.” 29 C.F.R. § 1630.2(j)(ii). In other words,

    that McFadden and A.J. can care for themselves and outwardly present as normally

    functioning does not mean they are not disabled. No reasonable jury, properly

    instructed, could fail to conclude that McFadden’s and A.J.’s extensive medical histories


           11
               The FHA regulation does not identify effective mental functioning as a major life
    activity with the same clarity as the ADA. Nonetheless the regulation states that major life
    activities are “functions such as caring for one’s self, performing manual tasks, walking, seeing,
    hearing, speaking, breathing, learning and working.” Id. (emphasis added). Effective mental
    functioning is akin, and often a prerequisite, to many of the specifically named activities.


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    establish a record of disability under both the FHA and § 504. Accordingly, Plaintiffs are

    entitled to summary judgment on this element.

                   c.       “Regarded As” Disabled

            Plaintiffs also argue that MHA indisputably “regarded” McFadden and A.J. White

    as disabled. (ECF No. 354 at 28–29.) This argument largely relies on Kincher’s

    statements that MHA granted or would have granted the requested accommodations,

    the implication being that MHA would not have so acted or intended to act without

    coming to regard McFadden and A.J. as disabled.

            Because Plaintiffs need only prove one version of the disability definition, and

    “record of” satisfies that burden, the Court need not reach the “regarded as” argument.

    See 42 U.S.C. § 3602(h); 42 U.S.C. § 12102(1). To the extent it may still matter at the

    forthcoming trial, the Court notes that approval of, or intent to approve, an

    accommodation does not necessarily mean the person has come to regard the

    requesting party as disabled. For example, one can agree to an accommodation to

    avoid contention while still harboring significant doubts about the presence of a

    disability.

            3.     Notice

            The next element Plaintiffs must prove is that MHA “knew or reasonably should

    have known of the claimed handicap” or disability. Arnal, 226 F. Supp. 3d at 1183.

    There is no reasonable, genuine factual dispute here. As described above (Parts III.D.2

    through III.D.4), McFadden and Lonnie communicated the relevant claimed disabilities

    in person and in writing on multiple occasions to MHA’s agents (the Individual

    Defendants). The same evidence shows that the Individual Defendants deliberated

    about those claims. Thus, Plaintiffs have shown an entitlement to judgment as a matter

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    of law on the notice element.

           4.      Accommodation May Be Necessary

           The third element is “that accommodation of the handicap may be necessary to

    afford the handicapped person an equal opportunity to use and enjoy the dwelling.”

    Arnal, 226 F. Supp. 3d at 1183. “An accommodation is necessary when there is

    evidence showing that the desired accommodation will affirmatively enhance a disabled

    plaintiff’s quality of life by ameliorating the effects of the disability.” Id. at 1185.

           Plaintiffs have presented evidence from competent professional sources that

    McFadden and A.J. receive important mental health benefits from having their pets.

    MHA presents no countervailing evidence. Plaintiffs have therefore established as a

    matter of law that accommodation, in the form of keeping pets, may have been

    necessary to afford McFadden and A.J. an equal opportunity (as compared to non-

    disabled individuals) to use and enjoy their apartments at Karen Court.

           5.      Reasonableness of the Accommodation

           The fourth element of Plaintiffs’ discrimination claims is “that the accommodation

    is reasonable.” Arnal, 226 F. Supp. 3d at 1183. “An accommodation is reasonable

    under the FHA when it imposes no fundamental alteration in the nature of the program

    or undue financial or administrative burdens.” Id. at 1185–86.

           Again, a reasonable jury could only find for Plaintiffs here. MHA has offered no

    evidence that allowing McFadden and A.J. to keep their pets in their Karen Court

    apartment would impose a fundamental alteration to Karen Court or saddle it with undue

    financial or administrative burdens. McFadden kept Chewy in her apartment for six

    months before the pet policy change, and A.J. had at least one cat for almost two-and-

    a-half years before the change. MHA does not allege that Chewy or A.J.’s cats posed

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    specific or unusual problems. As far as the record reveals, the only action needed to

    accommodate McFadden’s and A.J. White’s pets is inaction. Consequently, Plaintiffs

    deserve judgment as a matter of law on this element.

          6.     Refusal to Accommodate

          The final element is “that defendants refused to make [the requested]

    accommodation.” Arnal, 226 F. Supp. 3d at 1183. To be liable under this element, the

    defendant

                 must . . . have been given an opportunity to make a final
                 decision with respect to [the plaintiff’s] request, which
                 necessarily includes the ability to conduct a meaningful
                 review of the requested accommodation to determine if such
                 an accommodation is required by law. [¶] Once allowed that
                 opportunity, a violation occurs when the disabled resident is
                 first denied a reasonable accommodation, irrespective of the
                 remedies granted in subsequent proceedings.

    Id. at 1186. There can be no reasonable dispute that MHA received the opportunity to

    make an informed final decision, and that it denied the accommodation as to both

    McFadden and the Whites. (See Parts III.D.2 through III.D.4, above.)

          MHA nonetheless insists that it did not deny either request. (ECF No. 363 at 30–

    31.) Concerning McFadden, MHA says there is a dispute of fact over whether the

    notices to vacate were prompted by pets other than Chewy, presumably referring to the

    ferret. (Id. at 30.) This is not so much an argument that MHA did not deny the

    accommodation request, but that grant or denial is irrelevant because there was an

    independent, nondiscriminatory basis to evict McFadden. Although the ferret was at

    times an issue, the communications between McFadden and Kincher closest to the date

    she was required to move out focus on the need to remove Chewy. (See Part III.D.4,

    above.) The fact that a ferret might have previously been part of MHA’s considerations


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    is, at best, a “mere scintilla” of contrary evidence, and not enough to avoid summary

    judgment. Adler, 144 F.3d at 678 n.5.

           Also as to McFadden, MHA points to Kincher’s testimony that MHA decided to

    grant the accommodation in full, apparently sometime in late August. As the Court

    previously discussed (Part III.D.5), there is no record support even in Kincher’s

    testimony that the $300 fee was waived. Moreover, MHA fails to present evidence that

    it informed McFadden of its decision to grant her requested accommodation. Surely an

    accommodating party cannot satisfy its obligations by deciding to grant the

    accommodation and then not telling the requesting party of that decision. In this light,

    there is no material dispute that MHA denied McFadden’s request.

           As to the Whites, MHA says that the request “was never denied; A.J. and Lonnie

    White voluntarily moved out of Karen Court on or about October 1, 2017. Until then, the

    cats remained in the White’s [sic] apartment.” (ECF No. 363 at 31 (citation omitted).)

    The argument is a non sequitur. MHA repeatedly denied the Whites’ request, in writing,

    and told them to vacate by September 15, 2016 (see Parts III.D.2 through III.D.4,

    above)—an outcome this Court prevented by issuing a TRO. Accordingly, no

    reasonable jury could agree with MHA that it never denied the Whites’ request.

                                                   ***

           For all these reasons, the Court grants summary judgment in Plaintiffs’ favor as

    to MHA’s liability under Plaintiffs’ Claims 1 and 4. 12




           12
              Plaintiffs have asserted theories of liability under Claims 1 and 4 that do not rest on
    denial of a reasonable accommodation. (See ECF No. 354 at 23, 33.) In light of the foregoing
    disposition, the Court need not address these arguments.


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    C.     Interference & Retaliation

           The FHA makes it “unlawful to coerce, intimidate, threaten, or interfere with any

    person in the exercise or enjoyment of, or on account of his having exercised or

    enjoyed, or on account of his having aided or encouraged any other person in the

    exercise or enjoyment of” the rights it grants. 42 U.S.C. § 3617. Based on this statute,

    Plaintiffs assert separate causes of action against Defendants for interference with FHA

    rights and retaliation for exercise of FHA rights. Plaintiffs also assert a § 504 retaliation

    cause of action. See Hwang v. Kansas State Univ., 753 F.3d 1159, 1165 (10th Cir.

    2014) (“We’ve long explained that the Rehabilitation Act prohibits not just discrimination

    on the basis of disability but retaliation against those who report disability

    discrimination.”). Interference and retaliation causes of action heavily overlap, including

    a requirement that the plaintiff prove the defendant was motivated to interfere or

    retaliate at least in part by intent to discriminate. See Carrillo v. Romero, 2013 WL

    6133362, at *3 (D. Colo. Nov. 21, 2013).

           There are many genuine disputes over whether Defendants possessed the

    necessary intent to be liable for interference or retaliation. Summary judgment for

    Plaintiffs is inappropriate on their claims for interference and retaliation.

    D.     McFadden’s $50 Deposit

           There is likewise a genuine factual dispute over whether McFadden ever paid a

    $50 deposit. The sole evidence is an ambiguous, unsigned form. (See Part III.D.5,

    above.) This is not nearly enough to take the question away from a jury. Summary

    judgment is therefore denied on this cause of action.

                                         V. CONCLUSION

           For the reasons set forth above, the Court ORDERS as follows:

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    1.    Plaintiffs’ Motion for Partial Summary Judgment (ECF No. 354) is GRANTED as

          to liability on Plaintiffs’ Claims 1 and 4 against MHA, but otherwise DENIED;

    2.    Defendants Melinda Parker, Michelle Buckler, Edy George, and Stacie Kincher

          are entitled to qualified immunity and are therefore TERMINATED as parties—

          counsel shall update their captions to so reflect;

    3.    If any party believes this outcome obviates the need to decide any issue in any of

          the pending motions to strike or exclude (ECF Nos. 421, 435–37, 440–41), that

          party shall file a notice stating as much no later than March 1, 2019;

    4.    Defendants’ Motion for Leave to Submit Surreply to Motion for Partial Summary

          Judgment (ECF No. 382) is DENIED AS MOOT; and

    5.    This matter REMAINS SET for a Final Trial Preparation Conference on April 10,

          2019, at 1:30 PM, and a 5-day jury trial commencing on May 6, 2019, at 8:30 AM,

          both in Courtroom A801.


          Dated this 15th day of February, 2019.

                                                    BY THE COURT:



                                                    ______________________
                                                    William J. Martinez
                                                    United States District Judge




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